Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 1
                                    of 14




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:16-cv-02981-MSK-KMT
  TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
  others similarly situated,
                        Plaintiff
  v.

  EURTON ELECTRIC COMPANY, INC., a California corporation
                        Defendant

                 DECLARATION OF JOHN BUCHANAN IN OPPOSITION
                     TO MOTION FOR SUMMARY JUDGMENT




  {00159017;1}                                   1
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 2
                                    of 14




                 1.    I am over the age of eighteen years and am competent to make this declaration.
                 2.    I have personal knowledge of the matters set forth in this declaration, except as
  to those matters stated upon information and belief, and I believe those matters to be true.
                 3.    I am President of Defendant Eurton Electric Company, Inc. (“Eurton”).
                 4.    Eurton supplies and repairs electric motors. Eurton is a small business with less
  than 30 employees.
                 5.    Eurton has been in business for over 35 years.
                 6.    Based on the foregoing, if called upon as a witness, I could and would
  competently testify as to all of the matters stated herein.
                 7.    Exhibits 3, 4, 5, 6, 7, 8, and 13 were maintained in the regular course of Eurton’s
  business. These records are updated as applicable, at or near the time of the acts, conditions, or
  events to which said books and records relate.
                 8.    As part of its business, Eurton would obtain fax information for potential
  customers. Eurton engaged a company called WestFax to mount an advertising campaign via
  fax to a list of recipients that Eurton supplied.
                 9.    This list included Plaintiff Tech Instrumentation Inc. (“Tech”) and over 1,000
  other individuals/businesses.
                 10.   Plaintiff filed its Complaint on December 6, 2016. Within the four years prior to
  filing of Plaintiff’s complaint, Westfax was the only provider Eurton used to send faxes.
                 11.   Eurton does not have a record of the faxes sent by Westfax to class members.
  How Eurton obtains permission to fax
                 12.   Eurton’s primary practice to obtain fax numbers has been described as a three-step
  process.
                 13.   First, Eurton would locate businesses online that might regularly use or repair
  motors in their operations.
                 14.   Second, Eurton would then cold-call those businesses, explain our rebuilding and



  {00159017;1}                                           2
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 3
                                    of 14




  rewinding services, and ask whether the business would be interested in receiving more
  information.
                 15.    Third, the company policy was to then ask the businesses if they agreed to receive
  more information, including by fax.
                 16.    Although Eurton did not maintain a specific written script, the foregoing describes
  the specifics of the three-step process. Eurton’s representative would first identify his or herself,
  and state what Eurton does, namely that Eurton rewinds small electric motors and supplies motor
  repairing parts.
                 17.    Then the representative would state “Can I speak with the repair department or
  someone who handles with that?” or a variation thereof.
                 18.    Once Eurton’s representative reached that person, they would ask them “Do you
  have need for such a service? We can offer a unique, special rewinding service for people in your
  industry, and supply electric motor repair items for those who repair them in house.”
                 19.    Eurton’s representative would then state “Can I send you a flyer periodically
  explaining our products and services.” Eurton would emphasize periodically rather than once
  because the customers being contacted are dealing with electric motors, tools and parts on an
  ongoing basis. As new applicable rewind pertinent to their industry arise, or new repair part is
  added, they would then be periodically updated with the latest service or addition.
                 20.    For example, the flyers alleged to be sent to Plaintiff are the types of flyers
  explaining our products and services contemplated by Eurton’s dialogue with potential customers.
                 21.    If the target agreed, at that point, Eurton would state, “can I have your fax number?”
                 22.    That we were seeking permission prior to faxing these flyers is reflected by our opt
  out language on the fax to Plaintiff which mentions “permission” prior to the fax:
                 PLEASE REMOVE: We at Eurton Electric try our best to contact all customers on our
                 list, but understand mistakes occur, or unauthorized permission may have been given. If
                 you have not need for our repair or parts service, and which to be removed from future




  {00159017;1}                                            3
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 4
                                    of 14




                 contacts, please fax, e-mail or phone (below) and let us know the number you wish
                 removed.
                 23.   This three-step oral process was primarily performed by myself as well as other
  temporary employees. Although there was not a formal script, I practiced with them as to what to
  say via role playing and the monitoring of their calls.
                 24.   The reason we specifically asked whether the target consented to receive these faxes
  was in part sometimes the person I spoke to was not the person that ultimately received the initial
  fax. For example, rarely would this occur, but occasionally an office employee or even owner
  would call and state they had not requested the fax. I would explain the fax was intended for
  (contact name) in the repair/service area and the office person would agree to deliver it to them.
  This is why we added the possibility of “unauthorized permission given” in our opt out language
  on every flyer. For the record, once this was explained to the office personnel, no one ever refused
  a fax from Eurton. They just delivered it to the proper person in the shop.
                 25.   In addition to the 3 Step Process (above), there were other ways Eurton would
  obtain consent, as described further below.
                 26.   It was also a matter of company policy that Eurton would remove anyone when
  “mistakes” occurred as the optout verbiage explained. However, these removals were few and far
  in between. I do not have a record of the plaintiff, Tech Instrumentation, asking to be removed.
  To my knowledge, plaintiff, Tech Instrumentation never requested to be removed from the list.
                 27.   Prior to deposition I did a cursory search for “opt outs.” I only located two opt outs.
  However, an opt-out does not necessarily mean there was not initial permission to fax, only that
  the recipient no longer desired faxes.
  Class list
                 28.   Plaintiff’s class was certified on May 29, 2018.
                 29.   I am informed that the Court required notice be sent to the following the
  following persons or entities:




  {00159017;1}                                            4
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 5
                                    of 14




                 (i)     those listed on Eurton’s 2017 fax logs. “Fax logs” were referred to by Defendant
                         in its Opposition to Plaintiff’s Motion for Approval of Plaintiff’s Proposed Class
                         For Disseminating Notice to the Class (ECF 66) and were set forth at Exhibit 3
                         (ECF 66-1 at pgs 7-69).
                 (ii)    those listed on any existing iteration of Eurton’s “fax list”; and
                 (iii)   those who do not meet either of the first two criteria, but who are noted as
  having a fax number in either Eurton’s accounting database or on its potential customer/actual
  customer spreadsheet.
                 30.     With respect to Eurton’s fax list (item ii), Eurton previously produced a fax list
  in discovery as EE001-33. See Exhibit 1. That list represents 1,498 fax numbers. However,
  252 of those numbers are numbers that were not able to be faxed, because many of the list
  recipients are no longer in business, and/or the numbers were no longer in existence. That
  these companies/numbers were no longer in business or these fax numbers did not work was
  determined by Eurton after the lawsuit was filed.
                 31.     With respect to persons in Eurton’s database that do not overlap with the fax list
  (item iii), Eurton has identified 2,738 phone numbers. This was produced as EE2363. See Ex.
  2.
                 32.     Eurton did not have any 2017 fax logs other than post-lawsuit fax attempts to
  verify company information associated with the fax numbers on the list because the list in
  question was just numbers with no other information. Those faxes were made to verify prior
  express permission or invitation to fax the persons under (ii) and (iii), so those persons are
  subsumed in EE001-33 (“Initial List”) and EE2363 (“Supplemental List”). Those logs were
  produced as EE0039-1285.
                 33.     The potential customer/actual customer spreadsheet referenced at the deposition of
  Eurton was “Tools List for Mailer 5-2009”, but those numbers are already included in EE001-33.
  This list does contain 841(56%) of the list recipients from the list in question with previously




  {00159017;1}                                             5
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 6
                                    of 14




  contacted names and fax numbers from 2009.
                 34.   A true and correct copy of this Tool List is set forth as Exhibit 3.
                 35.   The Tool List was Eurton’s mailing list for potential and current customers at that
  time (2009 to 2016). This collection was independent and not part of our customer database. The
  list was assembled for mailing, but as Eurton added contact names, fax numbers, and permissions,
  the fax numbers were put on the fax list in question and represent the majority of the list recipients.
                 36.   The fax numbers on the Tool List would have been added if the fax number was
  provided via the three-step process described above, or if the fax number was provided as
  customers contacted Eurton, via phone, credit application, customer update information forms, or
  data quote forms.
                 37.   The fax numbers and other contact information in the Tool List would have been
  added in the regular course of Eurton’s business by Eurton employees near or at the time the
  contact information was provided.
                 38.   The 841 of the 1,523 entities on the Tools List are associated with fax numbers.
  The remaining 682 had not been updated with fax numbers and were not faxed. Those 841 (56%)
  contacts were in the Initial List, and therefore the confirmation of consent to fax those individuals
  via the Tools List predates this lawsuit.
                 39.   The Tools List for Mailer 5-2009 is a large but not an exclusive source of the fax
  list numbers produced as EE001-33 used to create the Initial List.
                 40.   With respect to persons in Eurton’s database that do not overlap with the Initial
  List, Eurton identified 2,378 individuals.
                 41.   Eurton produced a Supplemental class list (“Supplemental List”) relating to the
  names, addresses, and fax numbers for these individuals as EE2363. A true and correct copy of
  EE2363 is attached hereto as Exhibit 2.
                 42.   Eurton asserts it was highly unlikely the 2,378 persons in Eurton’s database that do
  not overlap with the Initial List were faxed.




  {00159017;1}                                           6
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 7
                                    of 14




                 43.   The Initial List was primarily based on the Tool List for Mailer 5-2009, and the
  Tool List was generally Eurton’s running record of persons actually faxed.
                 44.   Just because Eurton possessed names, address, telephone numbers, fax numbers in
  the database did not mean they were ever faxed. For the same reason, not everyone in the database
  was mailed or called on the phone. It was simply a database. The fact that the Initial List does not
  wholly overlap with the database bears this out.
                 45.   Given that the documents used to provide class notice were based primarily on
  Eurton’s customer records, it is likely the majority of those fax numbers relate to consumers.
  Documents reflecting consent prior to certification
                 46.   Eurton possesses documents reflecting three different ways consent was provided
  prior to this lawsuit being filed. At my deposition, when I was asked, “In fact, you don't have
  evidence, sitting here today, that any of the faxes you sent were solicited; correct?”, I was confused
  and believed Plaintiff’s counsel was only referring to the plaintiff Tech, not the entire class. This
  is apparent, given the number of credit applications and Customer Update Forms in Eurton’s
  possession.
                 47.   Once the Court’s Order certifying class and identifying the means to give notice
  was finalized, Eurton applied its resources to developing evidence of consent for these class
  members.
                 48.   Eurton assembled the credit application forms, Customer Update Form and Data
  Quotations forms after a change in defense counsel in January 2020. Prior to that change, Eurton
  was unaware that these forms could support its consent defenses.
  Credit application forms
                 49.   As part of its customer process, Eurton would have customers fill out a credit
  application. The credit applications were provided when the customer would contact Eurton and
  request to be set up on account for future business and supply their company relevant information.
                 50.   Credit applications, along with Customer Update Forms relating to Initial List were




  {00159017;1}                                          7
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 8
                                    of 14




  produced as EE1411-1501. And, credit applications along with Customer Update Forms relating
  to the Supplemental List were produced as EE1502-2022.
                 51.   True and correct samples of credit applications with respect to the Initial List are
  set forth as Exhibit 4 and with respect to the Supplemental List are set forth as Exhibit 5.
                 52.   Eurton has only produced credit applications relating to letters A, B, and C with
  respect to the Supplemental List. Assembling the credit applications during January and February
  2020 relating to letters A, B and C required 240 hours. This required manual review of thousands
  of hard copy applications to match with the individual/businesses in EE1502-2202.
                 53.   During this unprecedented and unforeseen time Eurton has had to lay off personnel
  as a result of COVID-19. Eurton does not have sufficient personnel or funds to assemble evidence
  relating to letters D-Z. Such review would require an estimated 1,840 hours.
                 54.   It was Eurton’s policy and procedure such that every person who was listed in
  the customer database would have completed a credit application. Not every credit application
  would have specifically had the language referencing faxes for “sales and specials,” for several
  reasons.
                 55.   First, many of Eurton’s customer’s applications date back before faxing.
  Second, many customers would submit their own pre-filled out credit forms with their contact
  information which includes their fax numbers among other contacts. Moreover, Eurton changed
  credit application forms over the years.
                 56.   Although the specific verbiage was not always included, the forms for provided
  for normal business communications which included faxing for promotions.
                 57.   If the customer was faxed as a result of the three-step process, and if they ultimately
  filled out a credit application with their fax number, they were on notice of the reasons they would
  be faxed at the time of the credit application.
                 58.   The three-step process and the credit applications were not an “either or”
  proposition. It is possible a cold call led to an individual being interested in a credit application in




  {00159017;1}                                            8
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 9
                                    of 14




  order to do business on an ongoing basis.
  Customer Contact Information Update Form
                 59.   For the past 36 years, since I started full-time at Eurton, Eurton has always sent
  out periodic customer update forms every 3-4 years via e-mail, fax, or and mail.
                 60.   Examples of these updates are included in EE1411-1501, EE2023-2361, EE3061-
  3946.
                 61.   As evidence that this practice predated the lawsuit, attached hereto as Exhibit 6
  are customer update forms EE3061-3070 faxed stamped from customers that predate the lawsuit.
                 62.   The majority of the update forms do not have fax stamps because they were
  generally completed and returned to Eurton via e-mail or mail, not faxed backed by customers.
                 63.   True and correct copies of sample customer updates are attached hereto as Exhibit
  7.
                 64.   Although there are not date stamps on most of these update forms, Eurton can
  determine certain forms predate the lawsuit by the addresses (in Santa Fe Springs, not Whittier)
  and the graphics used on the forms.
                 65.   Also, although Eurton’s location remains unchanged, it resides on the border of
  two cities, Santa Fe Springs, and Whittier. After years of struggles with Google, UPS, the
  FedEx, and the Post Office, Eurton started showing Eurton’s address as located in Whittier
  (rather than Santa Fe Springs) in early 2017.
                 66.   Therefore, a Santa Fe Springs address on a form indicates the form was created
  prior to 2017. See, for example, the Customer Contact Information Update Forms EE3071-74
  (Ex. 7), reflecting a Santa Fee Springs address. However not all forms have Eurton’s address.
                 67.   Customers may have received several of these forms periodically over the years.
  Those customers can return the form and update Eurton whenever they wished to update. This
  process is continuously in effect as our customers can supply Eurton with this information
  whenever there is a cause for an update.




  {00159017;1}                                           9
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 10
                                    of 14




                  68.   Because the update forms are generally e-mailed or mailed back to Eurton, or
   dictated orally, Eurton does not have readily available means of determining the date a customer
   returned and completed a particular update form.
                  69.   Only the most recent update forms would usually be kept in the files. Therefore,
   the presence of an update form post-lawsuit would not mean Eurton had not received a similar
   update form pre-lawsuit.
                  70.   A true and correct copy of an update form for Kalamazoo Electric Motor Co. is
   attached hereto as Exhibit 7 at (EE1287). Notice the change of address and other information from
   their original credit application Exhibit (EE1289) (See Exhibit ) over 20+ year prior, and the new
   recent contact “Kara” on their latest form.
                  71.   Many of Eurton’s customers have been customers over five to thirty plus years. In
   this regard, much of the documentation relating to prior permission, credit applications, and
   updated credit applications has been lost over time.
                  72.   Although Eurton provided these Customer Contact Information Update Forms to
   customers periodically in the regular course of business, it did not send these forms as a mass one-
   time communication to the entire class in June 2018 or any other time. It was a regular business
   practice to use these forms. They were not used as a response to Plaintiff’s lawsuit.
   Review of forms
                  73.   With respect to the Initial List, the spreadsheet set forth at EE02362 summarizes
   Eurton’s review of documents relating to the Initial list such as hardcopy credit applications,
   updates and records relating to business transactions. A true and correct copy of EE2362 is
   attached hereto as Exhibit 10.
                  74.   This spreadsheet contains columns relating to “Estab. Bus Relations Contact”,
   and “ Update Verified Info. / Perm. To Fax Doc.”
                  75.   If there is an “X” in the Estab. Bus Relations Contact column, that means there is
   a corresponding document in Ex. 14, 10,000+ Business Transactions with EBR List Recipients




   {00159017;1}                                          10
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 11
                                    of 14




   .pdf” (See EE394-EE4969).
                  76.   If there is an “X” in “UpdateVerified Info. / Perm. To Fax Doc.”, this means
   there is a corresponding document in “100 + fax flyers” (EE039-1285)
                  77.   Where there is listed “NO LISTING” in the “Business” column, means that at
   the time of Eurton’s research, Eurton could not find any association of the fax number with a
   business or individual.
                  78.   With respect to the Supplemental List, the spreadsheet set forth at EE02364 (Eurton
   Database A's B's C's Cust with Credit Apps and Updates 5-2020.xls) summarizes Eurton’s review
   of the hardcopy credit applications and updates relating to A, B and C (EE1502-2202), against the
   Supplemental List.
                  79.   A true and correct copy of EE2364 is attached hereto as Exhibit 11.
                  80.   If there was a credit application or update, the column was marked with a “C” or
   “U”. If they were no longer in business, that was also indicated on the spreadsheet.
                  81.   If there was a blank row in EE2364, that means it was non-contactable by company
   name, phone number, fax, email or web presence. Roughly 12% of the Eurton Customers on the
   A, B & C Supplemental List conducted business with Eurton several years prior. During those
   years, they never notified Eurton of going out of business nor filled out a Customer Update
   information form. Therefore, these 84 contacts, are represented by the blank cells in the column.
   Their company names, addresses, phone and fax numbers no longer exist and far as we know.
   Data Quote forms documents consent prior to certification
                  82.   Every day, potential customers and long-established customers request and fax to
   Eurton quotation data sheet flyers and other information via “Armature Data Sheet Quotation” and
   other winding related forms, which contain the pertinent information required to get them the
   rewinding quotations they need as part of their normal business practices. These documents were
   produced as EE2365-3060 (“Fax Flyers From List Customers and Potential Customers To Eurton
   Electric pdf”)




   {00159017;1}                                         11
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 12
                                    of 14




                  83.   These forms include a line for the customer to provide their fax number.
                  84.   Many times the fax number is the only number provided by the person seeking the
   quote.
                  85.   A true and correct copy of examples of these documents produced as EE2365-3060
   are attached hereto as Exhibit 8.
   Post lawsuit
                  86.   In addition to the credit applications, updates and Armature Data Sheet Quotation
   forms obtained prior to certification, Defendant also obtained evidence of consent after the lawsuit
   was filed.
   Verification faxes documents consent post-lawsuit
                  87.   In 2017, without prompting or involvement of defense counsel, Eurton directly
   contacted its customers to verify their company information and consent to fax.
                  88.   In this regard, Eurton contacted these customers to orally confirm/verify the fax
   numbers because the numbers on the Initial List in question were only numbers, they needed to
   be reverse engineered from having just a fax number to get the further needed information
   (company name, address, phone, etc).
                  89.   During this verification process, Eurton would then send these persons who had
   given their previous permission to fax them a flyer to confirm their prior consent and numbers
   to receive faxes. 841 (56%) of these original contact names can also be found in the Tool List
   2009 (Ex. 3), which predates the lawsuit.
                  90.   All 1,100 + fax flyers (EE039-1285), have the contacts, verified numbers and
   have "Permission to Fax was given by contact at the top of the flyer" and an extensive opt out
   message.
                  91.   Samples of these faxes are attached hereto as Exhibit 9. As an example, the fax
   confirmation sheet on EE0096 confirms confirming fax for businesses EE0103 (Minneapolis
   Lock & Key, 612-822-7716), EE146 (Broadview Instrumentation Services, Inc., 216-575-0051)




   {00159017;1}                                          12
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 13
                                    of 14




   and EE148 (Butler Cranberry Lock, Safe & Door Inc. (724-282-2227), among others. Similarly
   EE000295 is a fax confirmation sheet which includes a fax for EE0270 (Tool Place Corp. 305-
   591-5653), among others.
   Prior permission documents
                  92.   In 2019, without prompting or involvement of defense counsel, Eurton directly
   contacted its customers to verify their company information and their prior consent to receive
   faxes during the class period. I was the primary person who performed this task. In this regard,
   Eurton would ask whether these individuals would sign a form indicating that Eurton had
   permission to contact them before faxing during the past five years. Eurton did not ask whether
   they “would have” consented. Many of these individuals specifically mentioned the “three step”
   process.
                  93.   Eurton has produced these prior permission forms as EE01290-1410. Selected
   documents are attached as Exhibit 14 to my declaration.
                  94.   These forms state: “Eurton Electric has had permission to contact us via: phone
   calls, faxes, emails, and mailings. Sending flyers, catalogs, postcard, etc. to keep us informed on
   the latest rewinds, repair parts, products, sales and specials offered from time to time. Eurton
   Electric has had this permission more than 5 years, and we are looking forward to continue the
   possibility of working together with Eurton Electric for many years to come.”
                  95.   The use of the word faxes (plural) is indicative that this was consent for more than
   one fax to the customer.
   Business relationships
                  96.   Eurton has produced documents reflecting over 10,000 business transactions
   between EBR List Recipients and Eurton Electric. Sales Orders, Invoices and Statements
   (EE3947-EE4969). True and correct copies of samples from this production is attached hereto
   as Exhibit 13. As just one example, EE4840 reflects invoices as early as 1999 for Kalamazoo
   Electric. This relationship began with a credit application whereby Kalamazoo provided its fax




   {00159017;1}                                          13
Case No. 1:16-cv-02981-MSK-MDB Document 109-2 filed 11/01/21 USDC Colorado pg 14
                                    of 14




   number. See Ex 12 at EE1289.
                  Fax Logs
                  97.      Eurton does not possess any records of faxes actually sent (“fax logs”). Such fax
   logs would likely be in the possession of Westfax. Any fax logs received from Westfax would
   have been deleted in the regular course of Eurton’s business prior to notice of Plaintiff’s lawsuit
   in late 2016.
                  98.      When Eurton refers to a “fax list”, it refers to a list of fax phone numbers that it
   maintained that were presumably sent to WestFax. I periodically updated this list with Excel.
                  99.      Therefore, there were various iterations of the “fax list.”
                  100.     With respect to Eurton’s fax list, Eurton previously produced a fax list in
   discovery as EE001-33. That list represents 1,498 fax numbers. However, 252 of those
   numbers are numbers that were not able to be faxed, because many of the list recipients are no
   longer in business, and/or the numbers were no longer in existence. That these numbers are no
   longer working numbers was determined post-lawsuit.
                  101. A true and correct copy of a postcard Eurton received is set forth as Exhibit 12.
                         I declare under penalty of perjury that the foregoing is true and correct.
                  Executed this 1st day of November 2021, at Whittier, CA.




                                                           John Buchanan




   {00159017;1}                                               14
